                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF ALASKA

ALASKA INDUSTRIAL                        )
DEVELOPMENT AND EXPORT                   )
AUTHORITY,                               )     Case No.: 3:24-cv-00051-SLG
                                         )
                                         )
             Plaintiff,                  )
                                         )
       vs.                               )
U.S. DEPARTMENT OF THE                   )
INTERIOR; DEB HAALAND, in her            )
official capacity as Secretary of the    )
Department of Interior; BUREAU OF        )
LAND MANAGEMENT; and TRACY               )
STONE-MANNING, in her official           )
capacity as Director of the Bureau of    )
Land Management;                         )
                                         )
             Defendants.                 )
                                         )

                          PLAINTIFF’S OPENING BRIEF ON
                           COUNTS I, II(A), III, IV, AND V

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       Plaintiff Alaska Industrial Development and Export Authority (“AIDEA”)

respectfully submits this opening brief in this judicial review case pursuant to Local Rule

16.3 and the Court’s scheduling order (DE 49). As scheduled in that Order, this brief

addresses each of AIDEA’s pleaded claims, with the exception of Count II(b), the “pretext”

claim, which will be briefed later.

            A. Introduction and Summary of Argument

       On September 6, 2023, thirty days after Defendants Department of Interior et al.

(“DOI”) obtained this Court’s affirmance of DOI’s June, 2021 decision to temporarily

suspend the oil and gas leases covering the western portions of the coastal plain of the

Arctic National Wildlife Refuge (“ANWR”), which DOI had previously issued to AIDEA

in January 2021, DOI went further and cancelled AIDEA’s leases. AR 5353. In affirming

DOI’s “temporary” suspension and the related moratorium on ANWR oil and gas program

activities, this Court in its August 2023 order emphasized that DOI had not, at that point,

cancelled or otherwise “undone” the issuance of the leases. The Court noted the interface

of this matter with the Tax Act, P.L. 115-97 § 20001(c), which mandated lease issuance:

       [T]he operative statutes governing the Program—primarily the Tax Act—do
       not prescribe any discrete steps that Agency Defendants have yet failed to
       take. The Tax Act requires DOI to hold “the initial lease sale under the oil
       and gas program...not later than 4 years after the date of enactment of this
       Act.” Agency Defendants conducted the Program's first lease sale on January
       6, 2021. Congress enacted the Tax Act on December 22, 2017, so Agency
       Defendants handily met this deadline. Agency Defendants have not
       cancelled, rescinded, nullified, or otherwise undone the first lease sale. 1


1
  Alaska Industrial Development and Export Authority v. Biden, No. 3:21-cv-00245-SLG,
2023 WL 5021555, *27 (Aug. 7, 2023) (emphasis added, “AIDEA”).
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One month after receiving that opinion, DOI crossed the Court’s line in the sand, cancelling

AIDEA’s leases. Of course, this undid the statutorily-mandated issuance of the leases.

       However, in cancelling AIDEA’s leases, DOI failed to recognize that a purported

violation of the National Environmental Policy Act (“NEPA”) cannot in any circumstance

be the basis for rescinding a program step that is statutorily-mandated and thus non-

discretionary, even if such a NEPA violation might be a basis for pausing the discretionary

aspects of implementation of the same program. See Dept. of Transp. v. Public Citizen, 541

U.S. 752, 764, 769-773 (2004) (non-discretionary agency action requiring the agency to

admit Mexican trucks into the United Sates could not be challenged under NEPA because

the agency lacked authority to refuse admission, even though plaintiffs might have invoked

NEPA to instead challenge how the agency addressed environmental “mitigation” once the

Mexican trucks were in the country, a matter over which the agency had discretion); Alaska

Wilderness League v. Jewell, 788 F.3d 1212, 1225 (9th Cir. 2015) (a statutory directive

stating an agency shall approve oil spill response plans meeting statutory criteria eliminates

any agency discretion and therefore, such approvals are not subject to NEPA review);

Friends of Earth v. Haaland, 2023 WL 3144203, *2 (D.C. Cir. 2023) (non-discretionary

issuance of oil and gas leases is not subject to NEPA, so lease issuance cannot be cancelled

on account of purported NEPA violations).

       Congress amended NEPA in 2023 to expressly codify and affirm the Supreme

Court’s holding in Public Citizen that NEPA is not applicable to non-discretionary actions. 2


2
    Pub. L. 118-5 § 321(b); 42 U.S.C. § 4336e(10)(B)(vii); 40 CFR § 1508.1(q)(1)(ii).
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Additionally, lease cancellation was a wholly disproportional remedy for the concerns DOI

identified, which dealt with mitigation of the impact of this statutorily-mandated oil and

gas project, and so would have been far more logically dealt with by DOI using its authority

to impose additional mitigation measures.

       Moreover, before cancelling the leases, DOI did not open an agency adjudicative

docket, did not issue an administrative summons to AIDEA, and did not inform AIDEA of

when and where it might respond to the charges its leases were illegal from the inception.

Thus, DOI failed to comply with basic constitutional due process requirements owed to

holders of property interests such as AIDEA’s leases. This was unlawful and inexcusable.

       In addition, DOI has persuaded the Government Accounting Office (“GAO”) to rule

that AIDEA’s leases fit within the broad definition of “licenses” under the Administrative

Procedure Act (“APA”). 3 But this means that, as a consequence, DOI’s cancellation of the

leases also contravened the statutory due process protections that the APA affords license

holders. 5 U.S.C. § 558(c). Before canceling an APA license, the agency must provide the

licensee an opportunity to contest the claimed deficiencies. § 558(c)(2). DOI did not do so.

The agency must also first provide the licensee the opportunity to cure any deficiencies.

DOI again did not do so, but it easily could have provided AIDEA with the opportunity to

comply with additional environmental mitigations measures taken by DOI to correct for

any errors by DOI in its earlier environmental and statutory analyses. Id. 4


3
    See n. 33 below in Point D.2.
4
   DOI admits key aspects of the constitutional and statutory due process allegations in its
Answer. Answer to Amended Complaint (DE. 20), ¶ 66 (“Defendants admit the allegations
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       As this brief demonstrates, DOI procedurally and substantively erred in cancelling

AIDEA’s leases, because the issuance of leases was non-discretionary, and lease

cancellation was thus the undoing of a non-discretionary agency action. This is so even

though other aspects of program implementation were discretionary and regardless of

whether the environmental and subsistence analysis in the 2020 ROD and 2019 EIS, and

the interpretation of the Tax Act’s 2,000-acre clause in that ROD, was lawful or deficient.

AIDEA will briefly describe why DOI did not err in its 2020 ROD and 2019 FEIS, but

emphasizes that the errors DOI maintains it made in those documents cannot support lease

cancellation, even though they might justify ordering AIDEA as lessee to abide by

additional measures to protect the environment and subsistence hunting and fishing.

       In addition, although the National Petroleum Reserve Alaska’s (“NPR-A”) leasing

procedures that the Tax Act adopts to manage ANWR in § 20001(b)(3) may empower DOI

to administratively suspend leases, leases like AIDEA’s which are known to contain

valuable oil “may only be cancelled by court order.” Compare 43 CFR 3135.2(a) (lease

suspension) with 43 CFR 3136.3(b) (lease cancellation). DOI found that the parts of

ANWR mostly leased by AIDEA are highly likely to contain valuable oil and gas,

satisfying the caselaw standard under which certainty is not required for lands to be




of the first sentence of paragraph 66 that AIDEA was not offered an opportunity to
comment on the Lease Cancellation Decision prior to its issuance.”); ¶ 51 (“Defendants
admit that…DOI did not offer AIDEA the opportunity to keep its leases subject to changes
in the coastal plain program” addressing DOI’s concerns).
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considered as “known to contain valuable deposits” of oil. This important finding

precluded DOI’s unilateral non-judicial lease cancellation.

            B. Standard of Review.

       Courts review final agency actions pursuant to § 706 of the APA, which requires

courts to “hold unlawful and set aside agency action, findings, and conclusions found to

be...arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law,”

“in excess of statutory jurisdiction,” or “without observance of procedure required by law.”

5 U.S.C. § 706(2). An agency acted arbitrarily or capriciously if it relied on impermissible

factors in its decision making, failed to consider important aspects in its review, or its

explanation is counter to the evidence. Friends of Alaska Nat'l Wildlife Refuges v.

Bernhardt, 381 F.Supp.3d 1127, 1134 (D. Alaska 2019). Whether an agency action is in

accordance with law is a question of statutory interpretation. Dep't of Fish & Game v. Fed.

Subsistence Bd., 2023 WL 7282538, *5 (D. Alaska Nov. 3, 2023). Where Congress’s intent

is clear, the agency must give effect to that intent; if Congress was unclear, courts assess

whether the agency’s interpretation was reasonable. Id. (citing to Chevron, U.S.A., Inc. v.

Nat. Res. Def. Council, Inc., 467 U.S. 837 (1984)). Courts may give some deference to

agency interpretations that were subject to notice-and-comment processes, but DOI did not

supply a notice-and-comment period before this lease cancellation, either to AIDEA or the

general public. Id.

       The standard of review operates with a twist in this case because it is defendants

who claim agency error – DOI claims DOI under the prior Administration erred in issuing


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leases to AIDEA, which “requires the Secretary to show a violation” of law justifying

cancellation of the oil and gas lease. Solonex v. Haaland, 626 F.Supp.3d 110, 119 (DDC

2022). The due process issue also impacts the standard of review. Likely because DOI gave

AIDEA no opportunity to defend its leases from cancellation, and thus deprived itself of

the benefit of AIDEA’s briefing, DOI either did not address several substantial issues

discussed below, or addressed them in a cursory fashion that did not grapple with the

arguments that AIDEA makes. See, e.g. Points D.4 and D.5 below. If an agency has not

reached a substantial issue, that failure is often itself an error requiring reversal. San Luis

& Delta-Mendota Water Auth. v. Jewell, 747 F.3d 581, 636 (9th Cir. 2014); Motor Vehicle

Mfrs. Ass'n of U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983). The

reviewing court can only affirm based on a rationale stated in the agency decision, not one

supplied by agency counsel. Humane Soc. of U.S. v. Locke, 626 F.3d 1040, 1049 (9th Cir.

2010); Burlington Truck Lines, Inc. v. United States, 371 U.S. 156, 168 (1962).

            C. Statutory Background, Procedural History, and Facts.

       Section 20001 of the Tax Act consists of a series of “shall” directives to DOI. DOI

“shall establish and administer a competitive oil and gas program for the leasing,

development, production, and transportation of oil and gas in and from the Coastal Plain”

of ANWR. § 20001(b)(2)(A). DOI “shall conduct” at least two 400,000-acre Coastal Plain

lease sales by December 22, 2024, with the first sale to be completed by December 22,

2021 and the second by December 22, 2024. § 20001(c)(1). DOI “shall issue any rights-

of-way or easements across the Coastal Plain for the exploration, development, production,


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or transportation necessary to carry out this section.” § 20001(c)(2). DOI “shall authorize

up to 2,000 surface acres of Federal land on the Coastal Plain to be covered by production

and support facilities….” § 20001(c)(3).

       1. DOI Issues the 2019 EIS and the 2020 ROD, and Issues Leases to AIDEA.
       DOI worked to implement the 2017 Tax Act, issuing in September 2019 the final

Environmental Impact Statement (“FEIS”) after accepting public comments on a draft

version 5 and in August 2020, publishing its 2020 ROD finalizing the structure of the

Coastal Plain oil and gas program. 6 Both the 2019 FEIS and 2020 ROD reviewed the

program’s environmental impacts. They address alternatives DOI could have taken to

implement the Congressionally mandated program and evaluate the proposed program’s

compliance with other statutes, such as by assessing impacts that the Leasing Program may

have on subsistence hunting and fishing uses of the Coastal Plain under Section 810 of the

Alaska National Interest Lands Conservation Act (“ANILCA”), Pub. Law No. 96-487. 7 On

December 7, 2020, DOI invited bids for Coastal Plain leases. 8 AIDEA submitted bids for

the eleven tracts. 9 DOI announced that AIDEA was the high bidder on multiple tracts and




5
    AR 1-3135.
6
    AR 3138-3225.
7
    AR 0031-0032, 0686-0714 and 3167-3170.
8
    85 Fed. Reg. 78865; AR 3227.
9
    Lease Sale Bid Recap and Results Map, AR 3314.
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on January 13, 2021, AIDEA and DOI executed lease agreements for seven tracts covering

365,775 acres, for extendable 10-year terms. 10

       2. A New Administration Suspends AIDEA’s Leases and Begins Steps to
          Potentially Cancel AIDEA’s Leases. This Court Affirms the Suspension.

       Seven days after execution of the leases, and as foreshadowed by a campaign

promise, the Biden Administration took office and immediately “paused” the ANWR oil

and gas program. 11 It issued Executive Order 13990 on it first day in office, which ordered

DOI to issue a temporary moratorium on all activities implementing the Coastal Plain oil

and gas program. 12 All Coastal Plain lessees except AIDEA surrendered their leases.

       The specific steps taken by DOI in 2021 are now important from a due process

standpoint relative to the September 2023 lease cancellation. In the summer of 2021, DOI

sent AIDEA a letter suspending, but not cancelling, the leases. 13 The letter informed

AIDEA that DOI would conduct supplemental analysis under NEPA to re-evaluate the

conclusions reached in the 2019 FEIS and 2020 ROD and to evaluate the lawfulness of

AIDEA’s leases. 14 Specifically, DOI identified two concerns: (1) whether DOI properly


10
     AIDEA’s Oil & Gas Leases and Notice of Lease Issuance Decision, AR 3317-3346.
11
     Asked in February 2020 about drilling in ANWR, Candidate Biden stated he was
completely opposed to it: “no more drilling on federal lands period. Period, period, period.”
Video available: https://www.c-span.org/video/?c4856989/user-clip-joe-biden-arctic-
refuge. The parties have stipulated to the admissibility of this video clip.
12
     86 Fed. Reg. 7039; AR 3351.
13
     June 1, 2021, Notice of Decision, AR 3364-3365.
14
     AR 3365, “The BLM will undertake this additional NEPA analysis to determine
whether the leases should be reaffirmed, voided or subject to additional mitigation
measures. The BLM will publish a notice of intent to begin this process to undertake
additional analysis, complete necessary consultation, and correct defects in the EIS and
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interpreted the 2,000-acre-surface-footprint provision in the Tax Act in the 2020 ROD, and

(2) whether DOI adequately analyzed reasonable alternatives in its NEPA review of the

impact of Congressionally-mandated oil and gas program. AR 3364. In August 2022, DOI

sent AIDEA a second letter identifying a third concern, whether DOI had adequately

analyzed the “downstream greenhouse gas impact” of oil and gas development in

ANWR. 15

       During the suspension of AIDEA’s leases and while conducting its supplemental

review, DOI never issued an administrative summons, administrative complaint, or other

notice that provided AIDEA with an opportunity to respond and defend its leases. Neither

the original lease suspension notice nor the addendum sought a response from AIDEA to

these alleged defects. DOI did not notify AIDEA of where, how, and when AIDEA could

defend the legality of the leases. AR 3365. However, DOI’s suspension letter strongly

implied that AIDEA would have the opportunity to defend the validity of its leases by

submitting comments in the supplemental NEPA process DOI stated it would use to

evaluate the legality of AIDEA’s leases. Id. Furthermore, DOI published a Scoping Notice

initiating that supplemental NEPA process which stated that DOI would issue a Draft SEIS

and accept comments on that document for at least 45 days, before making final

decisions. 16 This cemented the conclusion, resulting from DOI’s statements, that AIDEA


ROD. When complete, the BLM will issue a new decision concerning this suspension of
operations and production (SOP) of the above-referenced leases.” (Emphasis added).
15
     Addendum to Suspension of Operations and Production, August 19, 2022, AR 3404.
16
     86 FR 41989-90 (Aug. 4, 2021), AR 3368 (“The purpose of this public scoping process
is to determine the scope of issues to be addressed and to identify the significant issues,
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could defend the legality of its leases through submitting comments when DOI issued the

Draft SEIS promised in the Scoping Notice. DOI’s addendum to its lease suspension

decision a year later in August 2022 furthered this impression, stating “BLM is conducting

this additional NEPA analysis to determine whether the leases should be affirmed, voided

or subject to additional mitigation measures.” AR 3405.

       Meanwhile, AIDEA sued DOI in the District of Alaska challenging the lease

suspension and DOI’s temporary “moratorium.” DOI defended the suspension and

moratorium on the grounds that it had not cancelled AIDEA’s leases, but rather had merely

“paused” the oil and gas program for a “temporary” period in order to re-evaluate the

program’s environmental impacts. 17 In an August 7, 2023 order, this Court upheld the lease

suspension, agreeing with DOI that the “pause” and lease suspension was only

“temporary,” while DOI conducted supplemental environmental analysis. Id.

       3. DOI’s September 6, 2023 Lease Cancellation Decision.




including any legal deficiencies in the Final EIS, related to an oil and gas leasing program
within the Coastal Plain. Information received during this process will influence the
development of the Supplemental EIS and guide the scope of the environmental analysis.
… Potential new alternatives to be considered in the Supplemental EIS include, but are not
limited to, those that would: Designate certain areas of the Coastal Plain as open or closed
to leasing; permit less than 2,000 acres of surface development throughout the Coastal
Plain; prohibit surface infrastructure in sensitive areas; and otherwise avoid or mitigate
impacts from oil and gas activities.… At that time the Draft Supplemental EIS will be
made available for public comment for at least 45 days. After the close of the Draft
Supplemental EIS comment period, BLM will develop a Final Supplemental EIS
incorporating comments received on the Draft.”) (emphasis added).
17
     See, e.g., AIDEA, 2023 WL 5021555, at *7.
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       In its August 7, 2023 Order in the lease suspension / moratorium case, the Court

cautioned that it was not deciding whether DOI could later cancel AIDEA’s leases:

       [T]he issues of whether Agency Defendants have the authority to cancel any
       leases and under what circumstances are not before this Court. The purpose of
       the Moratorium—the agency action that is properly challenged and currently
       before the Court—is to provide time for Agency Defendants to ensure that the
       Program is implemented in accordance with applicable laws. 18
The Court in affirming lease suspension stressed that, while DOI was “required” by the

Tax Act to hold lease sales by December 2021, DOI in suspending the leases and imposing

a temporary moratorium on program implementation had “not cancelled, rescinded,

nullified, or otherwise undone the first lease sale.” 19

       But in cancelling the leases a month later, on September 6, 2023, DOI did undo that

lease sale. In its lease cancellation decision, DOI reversed its prior position and concluded

that AIDEA’s leases were “unlawful in the inception.” 20 For this conclusion, DOI cited (1)

its re-interpretation of the 2,000-acre-surface-footprint provision of the Tax Act; 21 (2) its

conclusion the 2019 FEIS and 2020 ROD did not adequately analyze the impact of oil and

gas activities on subsistence hunting; 22 and (3) a decision by the Ninth Circuit holding that

in issuing oil and gas leases for the Outer Continental Shelf (“OCS”) under a different




18
     Id. at *25 (footnote omitted).
19
     Id. at *27 (emphasis added, footnotes omitted).
20
     AR 5353-5359. DOI did allow AIDEA a refund of its lease payments. AR 5359.
21
     AR 5356.
22
     AR 5357.
AIDEA v. Haaland, et al.                                        Case No. 3:24-cv-00051-SLG
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statutory structure, DOI should have conducted a more in-depth analysis of the

“downstream” impact on greenhouse gas emissions resulting from leasing in the OCS. 23

       DOI did not explain why these three concerns “were sufficiently serious and

fundamental” to require the extreme step of cancelling the leases rather than imposing

additional mitigation measures. 24 See AR 3405 (in suspending the leases, BLM had noted

it might “subject” them “to additional mitigation measures”). Nor did DOI explain why it

could not rectify these alleged deficiencies by requiring AIDEA as lessee to abide by DOI’s

new interpretation of the 2,000-acre surface footprint provision and additional measures

DOI finds necessary to address subsistence hunting and fishing and greenhouse gas

emissions. See AR 5355-5358. Finally, DOI failed to address the obvious conclusion that,

by directing DOI to implement a program for the development and production of oil and

gas in ANWR, Congress necessarily authorized and accepted the consequential increase in

greenhouse gas emissions resulting from that program.

       On the same day DOI issued the Lease Cancellation Decision, DOI published and

opened a public comment period for its draft SEIS that set forth DOI’s new analysis of the

2,000-acre-surface footprint issue, its plan on how to minimize impacts on subsistence

hunting and fishing, and what to do regarding greenhouse gas emissions. 25 While DOI

sought public comment on these three issues and other matters for purposes of developing


23
    AR 5357 (citing Ctr. For Biological Diversity v. Bernhardt, 982 F.3d 723 (9th Cir.
2020)). See discussion of this precedent in Point D.3.a below.
24
     AR 5358.
25
     88 Fed. Reg. 62104, AR 5363-5564.
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a final SEIS and new ROD, DOI did not seek comment on these three issues or any other

issues for purposes of deciding whether to cancel AIDEA’s leases.

       The Lease Cancellation Decision concluded by specifying that lease cancellation

was the “final” decision of the Department and not subject to appeal within DOI. 26

       As the holder of the leases DOI cancelled, AIDEA has standing to bring this suit. 27

            D. ARGUMENT

       1. DOI Deprived AIDEA of a Property Interest Without First Providing Due
          Process of Law as Required by the Fifth Amendment to the Constitution.
       AIDEA’s oil and gas leases were property interests entitled to the protection of the

due process clause in the Fifth Amendment to the Constitution, which prohibits the United

States from depriving a person (AIDEA) of a property interest without due process of law.

See, e.g, Conner v. Burford, 848 F.2d 1441, 1458 and n. 50 (9th Cir. 1988) (clarifying

remedy in oil and gas leasing case “to avoid the unnecessarily harsh result of completely

divesting the lessee of their property rights”); Amoco Prod. Co. v. Fry, 118 F.3d 812, 819

(D.C. Cir. 1997) (lessee’s right to recover overpayment has due process protections,

including right to “[n]otice and a meaningful opportunity to challenge the agency’s

decision”). Indeed, in the primary case DOI cites as establishing its authority to


26
    AR 5359, (“My decision constitutes the final decision of the Department and…is not
subject to appeal under Departmental regulations at 43 CFR Part 4.”).
27
    The leases granted DOI exclusive rights to drill and extract oil and gas reserves on over
365,000 acres of the Coastal Plain, rights AIDEA paid over $12 million to obtain. AR
3317-3346. Thus, AIDA suffered injury-in-fact from DOI’s cancellation decision, which
was unequivocally the cause of the harm resulting from the termination AIDEA’s leasehold
rights, and this Court can redress that harm by issuing an order vacating DOI’s unlawful
cancellation, which would reinstate the leases. 5 U.S.C. § 706.
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administratively terminate oil and gas leases due to illegality in their inception, the

Supreme Court expressly relied on DOI first providing due process to the lessee. See

Boesche v. Udall, 373 U.S. 472, 485-86 (1963). 28

       “The essential requirements of due process…are notice and an opportunity to

respond.” Cleveland Bd. of Educ. v. Loudermill, 470 U.S. 532, 546 (1985) (emphasis

added). Regardless of whether DOI provided sufficient notice to AIDEA of the possibility

of lease cancellation, DOI did not provide the equally essential opportunity to respond. As

detailed in Point C above, DOI did not issue an administrative summons, did not issue a

letter requiring or inviting AIDEA to respond by some date certain, and simply failed to

provide AIDEA with an opportunity to defend its property interests conveyed through these

lease agreements. 29 “Defendants admit … that AIDEA was not offered an opportunity to

comment on the Lease Cancellation Decision.” Answer to Amend. Cmplt, ¶ 66 (DE 20).

The record is devoid of any opportunity for AIDEA to defend its leases before DOI issued

its cancellation decision. Because DOI did not provide AIDEA with an opportunity to




28
     Cautioning that it did not intend to “open the door to administrative abuses,” 373 U.S.
at 485-86, the Boesche Court emphasized the due process DOI accorded the lessee. DOI’s
regulations “provide for adversary proceedings on appeals taken within the Department
where other private parties will be affected by the decision.…Appeal is of right, the
appellant is required to notify his opponent, and the latter has full rights of participation.”
Id (internal citations omitted). “Pending the outcome of [his] litigation, the [DOI] Land
Office Manager…withheld cancellation of [his] lease.” Id. at 474, n.3. DOI provided
AIDEA with no such agency process—or indeed with any process at all.
29
    In Boesche, DOI conducted “adversary proceedings” before an agency tribunal, 373
U.S. at 374, 386. Whether or not such proceedings are constitutionally required here, an
opportunity to respond to the charges is always required. Loudermill, 470 U.S. at 546.
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respond and defend its leases, the Lease Cancellation Decision must be set aside for failure

to observe procedures required by law, i.e. the Due Process Clause. 5 U.S.C. § 706(2).

       Although not necessary to find that DOI failed to provide the constitutionally

required opportunity to respond, that conclusion is buttressed by the steps DOI took that

led AIDEA to believe it would have the opportunity to defend the legality of its leases by

filing comments on the Draft SEIS and participating in DOI’s promised NEPA analysis.

As discussed above, in its letters suspending AIDEA’s leases, DOI stated it would use a

supplemental NEPA process to evaluate the legality of AIDEA’s leases (“The BLM will

undertake this additional NEPA analysis to determine whether the leases should be

reaffirmed, voided or subject to additional mitigation measures.”). AR 3365. In the Scoping

Notice, DOI then started that NEPA process by informing AIDEA and the public that DOI

would issue a draft SEIS and provide a comment opportunity on it before making final

decisions. 30 This led AIDEA to believe it would have the opportunity to defend the legality

of its leases in comments. 31 Had DOI followed through on its promised NEPA process and

refrained from deciding the lease cancellation issue until after it considered AIDEA’s

comments on the Draft SEIS, DOI might have provided due process. Had DOI informed

AIDEA of when, how, and where it could respond to the charges that AIDEA’s leases were



30
     86 Fed. Reg. 41989, 41990 (Aug. 4, 2021), AR 3369; see n. 16 above.
31
     The Scoping Notice was akin to a notice of a pre-hearing conference in litigation. It
invited comments on the “scope” of the issues to be considered, not the merits of the issues.
AIDEA filed timely comments on the scope of the issues, but rightly did not consider those
scoping comments to be the forum for fully defending the lawfulness of its leases on the
merits. AR 3368 (scoping notice, quoted in n. 16 above).
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illegal in the inception, DOI’s sudden withdrawal of the opportunity to comment on the

Draft SEIS before cancelling the leases might have been less damaging. In the end,

however, DOI never provided the required opportunity to defend, and so did not provide

due process.

       2. DOI Also Failed to Provide Statutory Due Process Required by the APA.
       In addition to constitutional due process protections, the APA in 5 U.S.C. § 558

provides statutory due process protections to license holders. In the lease suspension /

moratorium litigation, in successfully opposing the argument that the moratorium was a

rule subject to APA rulemaking requirements, DOI took the position that AIDEA’s leases

were also “licenses” as defined in the APA, which necessarily means that DOI tacitly

conceded that § 558 and its statutory due process protections also applied to AIDEA’s

leases. 32 Moreover, DOI persuaded the GAO to rule that the leases were APA licenses:

       [The] APA defines license as ‘the whole or a part of an agency permit,
       certificate, approval, registration, charter, member ship, statutory exemption
       or other form of permission.’ 5 U.S.C. § 551(8). Because the leases are
       permission to explore for oil and gas in the Arctic National Wildlife Refuge,
       the leases are licenses for purposes of APA. 33
       While the leases were not “licenses” as defined in the context of substantive oil and

gas and real property law, 34 what matters for purposes of application of the APA license


32
     DOI brief, DE 63, p. 29, n. 10, Case No 3:21-cv-00245-SLG (“The APA definition of
‘licensing’ further supports this distinction …. The leases fall squarely within these
definitions, and are neither issued nor suspended through rule making.”)
33
     File B-33578 at 3-4 (GAO, Feb. 27, 2024) (https://www.gao.gov/products/b-335781).
34
    Substantive oil and gas law and real property law use the term “license” more narrowly
to refer to instruments granting a mere permissive revocable permission to use real
property. AIDEA’s leases were non-revocable grants for renewable terms of years, were
entitled “leases,” and were issued under a statute, the Tax Act, which used the term “lease.”
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holder due process protections in 5 U.S.C. § 558(c) is whether the leases meet the much

broader definition of “license” in the APA. 5 U.S.C. § 551(8) (“license” includes “the

whole or a part of an agency permit, certificate, approval, registration, charter … or other

form of permission”). The GAO’s ruling that AIDEA’s leases fall within the broad

definition of “license” in the APA, which DOI obtained, should be followed by the Court.

       APA § 558(c) provides two key statutory due process requirements for license

holders: (1) notice of the charges that may result in adverse agency action, and (2) the

opportunity of the license holder to defend against those charges and to cure any defaults:

       (c) … Except in cases of willfulness or those in which public health, interest,
       or safety requires otherwise, the withdrawal, suspension, revocation, or
       annulment of a license is lawful only if, before the institution of agency
       proceedings therefor, the licensee has been given—
       (1) notice by the agency in writing of the facts or conduct which may warrant
           the action; and
       (2) opportunity to demonstrate or achieve compliance with all lawful
           requirements.…
5 U.S.C. § 558(c) (emphasis added). DOI failed to provide AIDEA the opportunity to

“demonstrate” the leases complied with legal requirements. 35 If AIDEA was given that




Thus, within the context of and substantive oil and gas law and real estate law, AIDEA’s
leases were in fact leases rather than “licenses.” But DOI has conceded the leases were
“licenses” under the APA’s broad definition of “license,” which is what matters here.
35
    There is no specified notice form for the agency to comply with § 558(c)(2). In a case
involving a licensee default, notice was lawful because it “set forth the reasons for the
Forest Service’s inquiry and explicitly identified what documents [the licensee] needed to
provide in order to confirm ownership of the cattle and entitlement to the grazing permit.”
Fence Creek Cattle Co. v. U.S. Forest Service, 602 F.3d 1125, 1135 (9th Cir. 2010)
(emphasis added); see Anchugstegui v. Dept. of Agric., 257 F.3d 1124, 1129 (9th Cir. 2001)
(notice issued too late in process); Clarke v. Commodity Future Trading Comm., 74 F.4th
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opportunity, it could have raised the argument that Congress ordered DOI to issue the oil

and gas leases, thus removing lease issuance from the realm of NEPA review and potential

invalidity due to NEPA errors. AIDEA could also have contended that lease termination

was excessive as DOI had authority to order additional mitigation measures. The Lease

Cancellation Decisions should be set aside because of DOI’s non-compliance with

§ 558(c). 36

       3. DOI Lacked Authority to Cancel Leases that Congress Directed DOI to Issue,
          Particularly When Lesser Remedies like Mitigation Were Available to DOI.
        DOI’s decision to cancel AIDEA’s lease agreements also contains at least two

substantive errors. First, the Congressionally mandated leases DOI issued are not subject

to NEPA review, at least as to their issuance in order to comply with the Tax Act, and DOI

therefore lacks authority to cancel those lease agreements because of alleged NEPA errors.

Second, cancelation was a grossly excessive remedy, beyond what is necessary for DOI to

correct any harm from its alleged errors, when DOI had available to it the power to order

issue environmental mitigation corresponding to DOI’s errors. The remedy was




627, 635, 642 (5th Cir. 2023) (letter merely providing licensee with “opportunity to
respond” insufficient – opportunity “to demonstrate or achieve compliance” is essential).
36
    The “public health, interest, and safety” exception to § 558(c) requirements is “directed
to unusual, emergency, situations,” and so has no application here. Air North America v.
Department of Transportation, 937 F.2d 1427, 1437, n. 8 (9th Cir.1991); Hodgins v.
U.S.D.A, 238 F.3d 421, n. 5 (6th Cir. 2000, table). The APA’s legislative history confirms
this point. Sen. Doc. No. 248, p. 35 (79th Congress, 2nd Session) (exception applies in cases
“of urgency”); H. Rept. No. 1980, p. 275 (79th Congress, 2nd Session) (exception applies
“where clear and immediate necessity for the due execution of the laws overrides the
equities ….”). AIDEA had to apply for and obtain follow-up permits to do any physical
work, so there was no such urgency to cancellation, particularly after lease suspension.
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particularly excessive as its burden fell upon an innocent party, AIDEA, which was not

responsible for the agency errors that prompted the remedy.

        a. Issuance of AIDEA’s oil and gas leases was not subject to NEPA review.
       The U.S. Supreme Court’s landmark ruling in Department of Transportation v.

Public Citizen, 541 U.S. at 764, 769-73, addressed when agencies must conduct NEPA

analyses. The Supreme Court concluded that, in order to trigger NEPA, the environmental

consequences in question must result causally from the agency’s decision making, and so

the Court rejected arguments that NEPA is triggered even when the agency has no authority

or discretion to decline to take agency action being considered:

       NEPA requires a ‘reasonably close causal relationship’ between the
       environmental effect and the alleged cause…in particular, ‘courts must look
       to the underlying policies or legislative intent in order to draw a manageable
       line between those causal changes that may make an actor responsible for an
       effect and those that do not.’
       Also, inherent in NEPA and its implementing regulations is a “‘rule of
       reason,’” which ensures that agencies determine whether and to what extent
       to prepare an EIS…It would not, therefore, satisfy NEPA’s ‘rule of reason’
       to require an agency to prepare a full EIS due to the environmental impact
       of an action it could not refuse to perform.

Public Citizen, 541 U.S. at 767-69 (emphasis added, internal citations omitted). Thus,

actions subject to NEPA review do not include “nondiscretionary obligation[s]” where DOI

has no ability to refuse or to modify an action that Congress has instructed it to take. Public

Citizen has since been codified by NEPA amendments in 2023 through Pub. Law 118-5

§321(b), which clarified that the definition of “major federal action” excludes “[a]ctivities

or decisions that are non-discretionary and made in accordance with the agency’s statutory

authority.” 42 U.S.C. § 4336e; 40 CFR 1508.1(q)(1)(ii) (89 Fed. Reg. 35442, issued May

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1, 2024, will renumber these rules). The duty to prepare an EIS extends only to “major

federal action.” 42 U.S.C. § 4332(2)(C); 40 CFR § 1501.1(a). Were the law otherwise,

agencies could wittingly or unwittingly fail to heed congressional directives, resulting in

serious separations of powers concerns.

       This has occurred here. The Tax Act called for both discretionary and

nondiscretionary actions by DOI. The directive requiring DOI to establish an oil and gas

program on ANWR’s coastal plain provided the agency some discretion in formulating the

structure of the program and in the continued management over actions implementing the

program. Tax Act, § 20001(b). But beyond that broader directive, Congress imposed

narrower, specific “nondiscretionary obligations” on DOI, including the requirement that

the agency hold a lease sale and issue leases for oil and gas development on ANWR’s

Coastal Plain no later than January 6, 2021. Tax Act, § 20001(c). DOI had no discretion in

choosing if it should hold a sale for oil and gas leases. Thus, DOI’s actions implementing

the Tax Act’s requirement to hold a sale and its issuance of the resulting oil and gas lease

agreements to AIDEA are precisely the kind of “nondiscretionary obligation” excluded

from NEPA review. As such, DOI cannot support its subsequent cancellation of the lease

agreements by claiming that the alleged DOI errors in the NEPA analysis are grounds for

lease cancellation.

       The Tax Act’s statutory scheme, directing DOI to take both discretionary and non-

discretionary actions in establishing a Coastal Plain oil and gas program, is similar to the

framework the Ninth Circuit analyzed in Alaska Wilderness League, 788 F.3d at 1215.


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Anti-drilling plaintiffs sued DOI over its approval of oil spill response plans tied to off-

shore leases in the Beaufort and Chukchi Sea. Off-shore drilling is governed by OCSLA,

which requires lessees to submit oil spill response plans in accordance with the Clean

Water Act. The OCSLA project approval process involves a series of discretionary agency

decisions subject to NEPA, but, like the Tax Act, OCSLA also imposes non-discretionary

obligations on DOI. For example, under OCSLA and the Clean Water Act, DOI “must

‘promptly review’ submitted [oil spill response] plans…and ‘shall…approve any plan that

meets’ the statutory requirements.” Alaska Wilderness League, 788 F. 3d at 1216 (emphasis

added, internal citations omitted). Plaintiffs claimed approving these oil spill response

plans without an EIS violated NEPA.

       The Ninth Circuit rejected this argument, citing Public Citizen as precedent that

NEPA does not apply to DOI’s nondiscretionary review and approval of response plans:

       …Plaintiffs' argument [is] that no authority prevents [DOI] from requiring
       Shell to make changes to the [response plans] in order to minimize adverse
       environmental effects. On the contrary, [DOI’s] authority is just so
       constrained. The governing statute mandates that the agency “shall ...
       approve any plan that meets the requirements” of the statutory section. This
       language is similar to the statutory mandate at issue in Public Citizen, where
       the governing statute required that the [agency] “shall register a person to
       provide transportation ... as a motor carrier if [it] finds that the person is
       willing and able to comply with” that statute's requirements. …
       The statute here similarly restricts [DOI’s] discretion. [DOI] is required to
       approve an OSRP that meets the statute's requirements, which the agency
       reasonably interprets to be the checklist of six requirements…. Applying
       NEPA to this process, then, would merely require an agency to prepare a full
       EIS due to the environmental impact of an action it could not refuse to
       perform, which would clearly violate NEPA's rule of reason.




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Alaska Wilderness League, 788 F.3d at 1225–26. The Tax Act operated in the same way,

providing DOI with discretion to establish various details regarding the Coastal Plain oil

and gas program, but granting no such discretion as to issuance of leases by the statutory

deadline: “the Secretary shall conduct not fewer than 2 lease sales”, “the Secretary shall

offer for lease…not fewer than 400,000 acres area-wide in each lease sale”, and “the

Secretary shall offer…the initial lease sale…not later than 4 years after the date of

enactment of this Act.” Tax Act §20001(c). Faced with a similar statutory directive in the

Inflation Reduction Act (Pub. L. 117-169) that DOI issue oil and gas leases in the Gulf of

Mexico, the D.C. Circuit held that lease issuance under that statute was not subject to

NEPA and so leases could not be invalidated for alleged NEPA failures. Friends of the

Earth v. Haaland, No. 22-5036, 2023 WL 3144203 (D.C. Cir. Apr. 28, 2023).

       The Ninth Circuit’s decision in Center for Biological Diversity v. Bernhardt is the

counterpoint, but it is easily distinguishable. It involved a discretionary rather than non-

discretionary agency decision. Environmental plaintiffs alleged that DOI erred in

approving a site-specific oil and gas project proposed by Hilcorp Alaska, LLC on the Outer

Continental Shelf pursuant to OCSLA, because DOI’s NEPA analysis for the project failed

to consider the consequences of increased emissions of greenhouse gases arising from

increased foreign oil consumption due to the project. Bernhardt, 982 F.3d at 736. The Ninth

Circuit agreed, finding it was necessary for DOI to have considered levels of greenhouse

gas consumption and emissions when considering a “no-action alternative” in its NEPA

review. Id. at 737-740. But therein lies the key distinction. OCSLA extended a permissive


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grant of authority to DOI, such that the agency “is authorized to grant…any oil and gas

lease on submerged lands of the outer Continental Shelf,” but was not required to grant the

lease. 43 U.S.C. § 1337(a) (emphasis added). 37 In exercising that permissive authority, DOI

had sufficient discretion to deny Hilcorp’s application for the lease and select the “no action

alternative” following NEPA analysis. Thus, unlike the present case, DOI was required

under Public Citizen to conduct NEPA analysis regarding whether to issue the requested

lease at all. By contrast, the Tax Act provided DOI with no discretion to decline to issue

leases, Tax Act § 20001(c). Indeed, this Court has already held that DOI was “required” to

issue the leases. AIDEA, 2023 WL 5021555, ∗27.

       DOI’s undoing of the statutorily-mandated lease issuance through lease cancellation

was all the more unreasonable because DOI had available to it the tailored remedy of

instead imposing on AIDEA additional environmental mitigation requirements

corresponding to DOI’s perceived errors in its earlier environmental and statutory analyses,

as discussed further in Point D.3.b below. Here, the Tax Act commanded DOI to issue

leases covering 400,000 subsurface acres by December 2021, and to issue the rights-of-

way and permits necessary to make oil and gas production in ANWR a reality. Tax Act, §

20001(c)(1) and (2). In September 2023, DOI cancelled those leases, for purported

illegality in the inception, leaving no leases in effect. DOI’s conduct is particularly

remarkable because it occurred 2.5 years after expiration of the statutory deadline,


37
      In contrast to the Tax Act, OCSLA is written as a series of “may” directives
empowering DOI with discretion in its management of the program, for example 43 U.S.C.
§ 1337(p) states that DOI “may grant a lease, easement, or right-of-way….”
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retroactively frustrating Congress’s intent. DOI has declined to promise to re-conduct the

now-defunct first lease sale. See DOI Answer to Amended Complaint ¶ 45 (DE 20); cf.

Finnbin, LLC v. Consumer Product Safety Comm’n, 45 F.4th 127, 134 (D.C. Cir. 2022)

(“We strongly disfavor any interpretation that make statutory commands unfulfillable.”). 38

        b. Lease cancellation was a disproportional response to the alleged errors.

       Even if arguendo issuance of AIDEA’s leases was subject to evaluation under

NEPA, any DOI errors did not justify the extreme remedy of lease cancellation where

ordering mitigation was an available proportional remedy. Remedies for agency error must

be tailored to logically correspond with the agency error, and not be excessive or

disproportional to the scale of the error. In Monsanto Co. v. Geertson Seed Farms, 561

U.S. 139, 165–66 (2010), the Supreme Court observed: “[i]f a less drastic remedy (such as

partial or complete vacatur of [the agency’s] deregulation decision) was sufficient to

redress respondents' injury,” a more drastic remedy was not warranted. Along these lines,

remedies for error as to part of an agency action should respect severability principles.

Cook Inletkeeper v. Raimondo, 541 F.Supp.3d 987, 992 (D. Alaska 2021) (vacating only

those portions of a permit that were “within the scope of” errors in environmental analysis).

“[S]uccessful challenges to one aspect of a rule yield partial vacatur unless there is

‘substantial doubt’ that the agency would left the balance of the rule intact.” Finnbin, LLC



38
     In announcing the lease cancellation, Secretary Haaland remarked that “no one will
have rights to drill for oil in [ANWR],” which raises doubts that these leases will ever be
reissued to comply with the Tax Act. DOI Answer to Amend. Cmplt, ¶ 61 (quote). The
parties have stipulated this remark may be considered by the Court. DE 48, n. 1.
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45 F.4th at 136; see also, Belmont Municipal Light Dept. v. F.E.R.C., 38 F.4th 173, 188

(D.C. Cir. 2022) (severing offending provisions from an agency adjudicatory order). These

principles logically also apply when an agency self-corrects for its own errors, particularly

if the burden of the remedy falls on an innocent party. 39

       There is a lack of nexus between the alleged NEPA and statutory interpretation

errors DOI believes it committed in the 2020 ROD and 2019 FEIS, the issuance of the

leases in January, 2021, and the lease terms. The lease agreements convey to AIDEA the

exclusive right (as against others) to drill, extract, and remove oil and gas from specific

tracts of lands located in ANWR, but development of those lands remains subject to DOI

regulation and further DOI permitting requirements. AR 3320. In the 2020 ROD, DOI

established that any action by AIDEA under the leases involving exploration, development,

production, transportation, or otherwise disturbing the surface of the leased lands requires

additional DOI approval and site-specific NEPA reviews. AR 3148. DOI’s self-perceived

errors are not even reflected in any lease terms (and if they were reflected in lease terms,

the proportional remedy would be to sever and invalidate those terms with AIDEA’s

consent). The lease terms required AIDEA to abide by all existing laws and order and even

reasonable subsequent orders. AR 3320.

       Further, AIDEA’s leases did not contractually guarantee access to develop 2,000

surface acres, are silent on and do not prohibit imposition of mitigation measures regarding



39
    DOI equated its role reconsidering its own prior decision to that of a court reviewing
an agency decision, citing judicial review decisions regarding remedies. AR 5355.
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greenhouse gases, and do not prohibit mitigation measures regarding subsistence hunting

and fishing. The additional permitting required before ground-disturbing activities can

occur was designed to allow DOI to evaluate and address potential environmental harm

before any harm occurs.

       One proportional remedy for the 2020 ROD’s purported misreading of the Tax Act’s

2,000-acre surface footprint clause could be for DOI to impose upon AIDEA as the existing

lessee the duty to comply with DOI’s new interpretation. Implementing that change would

mean revising the 2020 ROD, i.e., revising that document to correct DOI’s previous

statutory interpretation. But no provision would need to be excised from AIDEA’s leases,

which require compliance with the 2020 ROD and DOI orders, but do not themselves

address the 2,000-acre surface footprint issue.

       Similarly, a proportional remedy for the 2020 ROD’s purportedly inadequate

analysis of the impacts of oil and gas drilling on subsistence hunting is for DOI to refresh

its analysis of that issue, and once more order AIDEA as the lessee to comply with

whatever new mitigation measures DOI concludes are necessary, subject to the Tax Act’s

mandate that DOI allow and facilitate oil and gas drilling. As with the surface-acre

question, revisions to the 2020 ROD would be sufficient to accomplish this remedy. No

change to the terms of AIDEA’s leases would be necessary to address DOI’s error.

       Finally, a proportional remedy for the greenhouse gas emissions issue was

evaluating, selecting, and imposing reasonable mitigation measures pertaining to such

emissions. This would be available through a revision of the 2020 ROD, which imposes


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many mitigation measures. By directing that DOI issue oil and gas leases and administer

an oil and gas program, Congress necessarily chose to accept some level of greenhouse gas

emissions.

      In summary, the Tax Act, DOI’s regulations, the 2020 ROD, and the Lease Terms

all establish DOI’s authority to impose additional mitigation measures, all of which would

have preserved AIDEA”s right to judicial review. But, in its Answer, DOI admits that it

did not give AIDEA a chance to keep its leases and implement such mitigation measures

to address any errors by DOI. 40 Further, because DOI had suspended AIDEA’s leases, and

this Court had just upheld that suspension decision, there was no risk of AIDEA moving

forward with ground-disturbing activities before DOI could develop logical tailored

remedies. 41 In short, DOI had no basis to terminate AIDEA’s leases when far more

proportional remedies were available.

      4. APA § 558(c)(2) Required DOI to Provide a Cure Opportunity Before
         Terminating AIDEA Leases.
        DOI not only failed to take narrowly-tailored action to remedy its errors, it also

 failed to provide AIDEA with the opportunity to cure that 5 U.S.C. § 558(c)(2) requires




40
    Answer to Amended Complaint, ¶ 51 (“DOI did not offer AIDEA the opportunity to
keep its leases subject to changes in the coastal plain program.”).
41
    See Conserve Southwest Utah v. U.S. Dep’t of Interior, 2023 WL 7922785, **8-9, No.
21-1506- ABJ (DDC 2023) (declining to vacate DOI’s grant of a right-of-way to build a
road, despite DOI confessing error in its National Historic Preservation Act analysis and
agreeing to vacatur – vacatur not justified because project proponent could only begin
construction after completion of a remand addressing the NHPA issue).
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 agencies to afford license holders before license cancellation can lawfully occur. 42 Rather

 than provide this opportunity to cure, DOI jumped straight to lease cancellation.

       In addition to requiring that the agency provide the licensee with the opportunity to

 contest claims that non-compliance with law exists, § 558(c)(2) requires that, before

 initiating proceedings to terminate a license, the licensing agency also provide the licensee

 with the opportunity to “achieve…compliance…” i.e. to cure any non-compliances that

 might presently exist. (Emphasis added). Section 558(c)(2) thus specifically applies to the

 subject of cancellation of APA licenses the more general legal doctrines reviewed in Point

 D.3.b above that remedies for agency error must be proportional and tailored to address

 the error committed. Cancellation of an APA license for a curable concern is, as a matter

 of law, an unavailable remedy under § 558(c)(2). Here, to the extent DOI arguably erred

 at all in its various analyses in the 2020 ROD and 2019 FEIS that accompanied lease

 issuance, cure was achievable through DOI ordering and AIDEA complying with

 mitigation measures, such as including its new more conservative interpretation of the

 2,000-acre clause, adding additional subsistence hunting and fishing protections, and

 adding additional greenhouse gas mitigation.

       The § 558(c)(2) obligation requiring a licensing agency to allow the licensee an

 opportunity to cure is most often invoked when the licensee has done something wrong

 that is curable, e.g. being late in paying license fees, or failing to comply with some terms



42
   See Point D.2 above for discussion of DOI’s successful effort to persuade GAO that
AIDEA’s leases were also licenses within the APA’s broad definition of “license.”
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 of the license. But that obligation of the licensor (the agency) to provide a cure opportunity

 logically and textually applies even when the licensor is the actor whose mistakes might

 result in the licensee losing its license. 43 The text of § 558(c)(2) is not narrowly limited to

 licensee defaults. The language is broadly written guaranteeing an opportunity to achieve

 compliance with “all lawful requirements” regarding the license. And here, DOI’s

 allegedly inadequate analyses in the 2019 FEIS and 2020 ROD put AIDEA’s leases in

 jeopardy. In this situation, the innocent licensee must be allowed a chance to cure any

 defects by cooperating with the licensing agency’s efforts to fix the licensing agency’s

 own errors. Instead, DOI admits it did not provide AIDEA with the opportunity to accept

 “program changes” and keep its licenses. Answer to Amended Complaint, ¶ 51. DOI did

 not provide the cure opportunity the APA requires be afforded to holders of APA licenses.

       5. 43 CFR § 3136.3(b) Applies in ANWR and Requires DOI to Obtain a Court
          Order if it Believes Cause Exists to Cancel AIDEA’s Leases.
       DOI further erred by failing to follow an NPR-A regulation applied by the Tax Act

to ANWR. This regulation expressly provides that a lease of lands that either have a

“producing” well “or” are “known to contain valuable deposits of oil” may “only be

cancelled by court order.” 43 CFR § 3136.3(b); see Tax Act § 20001(b)(3) (DOI shall

administer the ANWR oil and gas program in a manner “similar to” the NPR-A program,

citing these NPR-A regulations). In the 2019 FEIS and 2023 Draft SEIS, DOI made factual

determinations regarding the high likelihood of economically recoverable oil being present



43
    As discussed in Point D.2 above, the exceptions in § 558(c) for willful bad acts by the
licensee and exigent circumstances impacting public health and safety do not apply.
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that meet the caselaw standard for identifying lands “known to contain valuable deposits

of oil.” See AR 122-24; AR 4114-15; AR 5586-97 (detailed further below).

       a. NPR-A Rule 3136.3(b) has no counterpart in the Mineral Leasing Act
          provisions construed in the Boesche decision mistakenly relied upon by DOI.
       Rather than suing AIDEA to seek a ruling by a neutral judge that AIDEA’s leases

were invalid, the procedure set by the regulation, DOI made that determination unilaterally

and administratively. AR 5353. DOI acted in misplaced reliance on the Supreme Court’s

Boesche decision, which construed a different leasing regulatory structure with no

counterpart to Rule 3136.3(b). AR 5355. In Boesche, the Court construed a provision of

the Mineral Leasing Act (“MLA”), 30 U.S.C. § 188. 373 U.S. at 475. That statute (1)

allowed DOI to seek judicial cancellation of leases for default by the lessee, (2) allowed

DOI to administratively cancel a lease for default by the lessee if the lease was not known

to contain valuable deposits of oil, but (3) said nothing either way about whether DOI could

administratively cancel leases for other reasons, such as error in issuing leases:

       Except as otherwise herein provided, any lease issued under the provisions
       of * * * (this Act) may be forfeited and canceled by an appropriate
       proceeding in the United States district court for the district in which the
       property, or some part thereof, is located whenever the lessee fails to comply
       with any of the provisions of * * * (the Act), of the lease, or of the general
       regulations promulgated under * * * (the Act) and in force at the date of the
       lease * * *.
       ‘Any lease issued after August 21, 1935, under the provisions of * * * (s 17
       of the Act, 30 U.S.C. s 226) shall be subject to cancellation by the Secretary
       of the Interior after thirty days' notice upon the failure of the lessee to comply
       with any of the provisions of the lease, unless or until the land covered by
       any such lease is known to contain valuable deposits of oil or gas.’

30 U.S.C. § 188 (historical, as quoted in Boesche, 373 U.S. at 475).


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       The lessee in Boesche contended that this MLA provision implicitly prohibited DOI

from administratively cancelling leases for pre-issuance errors by DOI. 373 U.S. at 475-

76. The lessee asked the Supreme Court to find that the statutory grant of administrative

cancellation authority for certain defaults by the lessee was exclusive, implying a lack of

DOI authority to administratively cancel leases in other contexts. Id. The Supreme Court

rejected the lessee’s argument, holding that, in the absence of a statute limiting DOI’s

authority, DOI’s powers to administer public lands included an inherent power to

administratively cancel leases in order to correct its own errors. Id. at 476. However, the

Court was careful to note that this inherent power held by DOI could be “withdrawn” by

Congress. Id. The MLA lacked such a provision withdrawing DOI’s authority. Id.

       But just as Congress may withdraw DOI’s inherent powers, so too may DOI choose

to limit its inherent powers by adopting a regulation requiring it to obtain a court order to

cancel a lease in some or all circumstances. If DOI makes that choice, errors by DOI are

still correctable, but through a proceeding before a neutral court. In adopting Rule

3136.3(b) in 1981 for the NPR-A, DOI did just that. The decades old regulation contains

one exception allowing DOI to administratively cancel a lease if the lessee commits an

uncured default and is not yet producing oil or gas, but otherwise DOI must obtain a court

order to cancel a lease if the lease either includes a “producing” well or is for lands “known

to contain valuable deposits” of oil:

       (a). Any nonproducing lease may be canceled by the authorized officer
       whenever the lessee fails to comply with any provisions of the Acts cited in
       § 3130.0-3 of this title, of the regulations issued thereunder or of the lease, if
       such failure to comply continues for 30-days after a notice thereof has been

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       delivered by registered or certified mail to the lease owner's record post
       office address.
       (b). Producing leases or leases known to contain valuable deposits of oil or
       gas may be canceled only by court order.

43 CFR § 3136.3 (emphasis added). Comparing subsection (a) to subsection (b) of this

rule, one sees that DOI tackled the subject of cancellation of leases for lessee default in

sub-section (a) and wrote sub-section (b) more broadly, without limiting subsection (b) to

the subject of default by the lessee. Where it applies, this NPR-A rule prohibits

administrative lease cancellation by requiring a court order, which resolves an issue on

which the MLA provisions construed in Boesche were silent.

       DOI’s differing approaches in implementing the NPR-A and the MLA reinforce the

conclusion that Rule 3136.3(b) means that leases under NPR-A (and ANWR) known to

contain valuable oil may “only” be cancelled by court order. In adopting this and other

NPR-A Rules, DOI determined that the MLA and DOI’s MLA regulations “are not

applicable to” the NPR-A. 46 Fed. Reg. 55494, 55497 (Nov. 9, 1981). Indeed, the MLA

and NPR-A regulations are mutually exclusive, and cannot both apply to the same project.

      The District of Alaska agreed with this conclusion that the MLA does not apply to

the NPR-A. Natural Resources Defense Council v. Zinke, 2018 WL 6424687, *2 (D.

Alaska 2018). 44 The text of DOI’s NPR-A lease cancellation rule differs sharply from

DOI’s MLA lease cancellation rule. The NPR-A rule requires a court order to cancel leases

of lands known to contain valuable oil, with a limited exception for certain lessee default


44
    See also, 43 CFR § 3100.0-3(a)(2)(v) and (vi) (MLA does not apply to units north of
68 degrees latitude and east of the western boundary of the NPRA, such as ANWR).
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scenarios, 43 CFR § 3136.3, while the MLA regulations codify Boesche by expressly

declaring that a lease may be cancelled for errors in issuance, without requiring a court

determination. 43 CFR § 3108.3(c). In adopting the NPR-A regulations, the Reagan

Administration’s DOI further explained its determination to construe its agency powers

narrowly. 46 Fed. Reg. 55494, 55496. At the time, DOI declined to adopt a rule giving

itself the authority to administratively suspend NPR-A leases, reasoning that the statute

governing the NPR-A did not yet include a provision authorizing the administrative

suspension of NPR-A leases. Id. This philosophy of limiting agency power made it

unsurprising that DOI in Rule 3136.3 provided lessees with the protection of the courts

when DOI seeks to cancel a lease of lands containing valuable oil.

       DOI did not add administrative lease suspension to the NPR-A rules until 20 years

later, after the NPR-A statute was amended to authorize administrative suspension. 45 And

to this day the NPR-A rules require a judicial order to cancel leases, with the sole exception

being when a lessee defaults under a non-producing lease. 43 CFR § 3136.3(a) and (b). In

this matter, there was no default and DOI administratively canceled oil and gas leases

known to contain valuable oil and gas deposits, contrary to governing regulations.

       b. The NPR-A lease cancellation rule extends to ANWR.
       While Tax Act § 20001(b)(3) requires DOI to administer ANWR leases in a manner

“similar to” how DOI administers NPR-A leases, DOI may contend that cancellation of a

lease by DOI for errors in issuing the lease is similar enough to cancellation of a lease for



45
     42 U.S.C. § 6508 (1997 amendments, now § 6506a(k)(2)); 43 CFR § 3135.2 (2002).
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such reasons by a court that DOI could utilize agency proceedings to cancel ANWR leases,

even if Rule 3136.3(b) requires judicial procedures to cancel NPR-A leases.

       This Court should reject any such “wiggle room” argument by DOI, for multiple

reasons. First, the Tax Act’s “similar to” provision cites the NPR-A rules, including Rule

3136.3, reflecting Congress’s expectation that DOI would follow the NPR-A rules in

administering the ANWR Coastal Plain program, unless there was some legal basis not to

do so in a particular instance. 46 Indeed, in the 2020 ROD, DOI interpreted the “similar to”

clause in the Tax Act as calling for DOI to follow its NPR-A regulations, unless some

special characteristic applicable to the ANWR Coastal Plain required different treatment.

AR 3151 (“The words ‘similar to’ in this context mean consistent except where the

statutory goals and mandates or differences in circumstances between the NPR-A and the

Coastal Plain support a departure”). There is no special characteristic of ANWR, as distinct

from the NPR-A, that would call for a different treatment between the two units on the

purely legal issue of whether DOI or a court decides whether grounds exist to cancel a

lease. This is particularly true now that this Court has relied on NPR-A provisions and the

Tax Act’s clause borrowing those provisions for ANWR to hold that DOI had authority to

administratively suspend AIDEA’s ANWR leases, allowing DOI to freeze action pending

a judicial determination on lease cancellation. 47 Compare 43 CFR § 3135.2(a) (“BLM may


46
     “Except as otherwise provided in this section, the Secretary shall manage the oil and
gas program in the [ANWR] Coastal Plain in a manner similar to the administration of
lease sales under the Naval Petroleum Reserves Protection Act of 1976 (42 U.S.C 6501 et
seq.) (including regulations).” Tax Act § 20001(b)(3) (parentheses in original).
47
     AIDEA v. Biden, 2023 WL 5021555, *10, appeal pending.
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require a suspension of operations … for your [NPR-A] lease ….”) with 43 CFR §

3136.3(b) (NPR-A leases known to contain valuable oil “may be cancelled only by court

order”).

       Second, it would be incongruous to hold that NPR-A lease suspension provisions

extend to ANWR, as this Court has done, but that the protections for lessees in the NPR-A

lease cancellation rule do not. Suspension and cancellation are often related agency actions.

       Third, any power on the part of DOI to administratively cancel leases by unilaterally

finding that a prior Administration with a different philosophy erred in issuing the leases

would be a highly significant power. A program operating under the threat of use of such

a power would be dissimilar to a program free from that threat, because the balance of

power would shift significantly, particularly for a program where a partisan divide exists

and development work will have to span multiple Administrations.

        c. DOI appropriately credited evidence that economically recoverable oil and
           thus valuable oil exists in Coastal Plain areas mostly leased by AIDEA.
       What remains then is to determine whether the 365,000 areas of the western ANWR

Coastal Plain leased by AIDEA are “known to contain valuable deposits of oil,” 43 CFR §

3136.3(b). Simply put, they are. In both the 2019 FEIS and the September 2023 Draft SEIS,

DOI cited and credited findings by the U.S. Geological Survey (“USGS”) in 2005 that

economically recoverable (and thus “valuable”) oil exists in ANWR, with 80% of that oil

in the western sub-area, particularly the portion of the western sub-area with “undeformed”

rocks north and west of the Marsh Creek anticline. AR 4114-15; AR 0123-24. AIDEA paid

$12 million to lease the substantial majority of those most promising lands north and west

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of the anticline. Compare AR 3316 (map of AIDEA’s leases); AR 5587 (USGS map

showing undeformed area, deformed area, and the Marsh Creek anticline); AR 5592

(USGS map showing western sub-area and eastern sub-area); AR 5496 (map of “Topset

Play,” which USGS and DOI noted was the most promising geological feature of ANWR

for oil extraction, AR 5604).

       In addition to analyzing the geology of the rocks and finding the undeformed rocks

north and west of the Marsh Creek anticline to be particularly promising for oil, USGS

pursued other lines of analysis and found it significant that multiple wells had struck oil

just to the west and north of the western sub-area of the Coastal Plain. AR 5577, 5581 (map

of these wells and analysis of their significance). 48 In summarizing all available

information, DOI in the 2019 FEIS and 2023 Draft SEIS found that “427,900 acres of the

program area are projected to have a high potential for petroleum resources, 658,400 acres

are projected to have moderate potential, and 477,200 acres are projected to have low

potential.” AR 0122; AR 4113. Because the USGS reports relied upon by DOI and the

2019 FEIS were published, AIDEA submitted bids to lease those locations within ANWR

that DOI found most likely to contain oil, and therefore AIDEA’s leases totaling 365,000

acres largely overlap with the 427,900 acres DOI found have a “high potential” for oil. 49


48
     These findings were in the original 1998 USGS study which the 2005 USGS study
relied upon for technical geological analysis and updated as to economics. AR 5586.
49
    The High Hydrocarbon Potential area identified by DOI in the 2019 FEIS (AR 0538-
0541 – note hatchmarks) and the 2023 Draft SEIS (AR 4639-4641) falls north and west of
the Marsh Creek anticline and is largely the same area that USGS identified in its study as
containing the most recoverable oil, the undeformed rocks area. (AR 5577). AIDEA’s
leases also largely fall within this area (AR 3316).
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       Rule 3136.3(b) requires that there be economically recoverable oil to trigger the

procedural protections for lessees, because the rule turns on whether “valuable deposits of

oil” are present. USGS defined economically recoverable oil as technically recoverable oil

that can be sold for a profit after accounting for all costs, including building a transportation

network in this remote arctic area, costs of extraction and transport, and a return on capital

invested. AR 5588. Therefore, economically recoverable oil is oil that, from a business

perspective, is worth drilling for and so is valuable. Thus, a key part of USGS’s work was

its determination, credited by DOI in both the 2019 FEIS and the 2023 Draft SEIS, that

there would be economically recoverable oil in the western sub-area of ANWR, most of

which AIDEA leased, even if the market price for oil was as low as $21 a barrel. AR 4115;

AR 0123-24; AR 5597; AR 5598-99. USGS had an extraordinarily high 95% degree of

confidence in this conclusion, AR 5598, i.e. “a 19 out of 20” chance, AR 5586.

       Applying that degree of confidence, USGS estimated that there were at least 750

million barrels of economically recoverable oil in the western sub-area at a $21 market

price, AR 5597, and that this figure would rise to 3.26 billion barrels if the market price

was $55 a barrel. AR 5597-99. In the Draft SEIS that accompanied the Lease Cancellation

Decision, DOI cited the USGS study for the proposition that “[n]inety percent of the

technical recoverable resources were estimated to be economically recoverable at

$55/barrel, approximately $85/barrel in 2023 dollars.” AR 4115. At that time, September




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2023, the market price was in the $80s. 50 This was several times higher than the minimum

price ($21 a barrel) at which USGS could say with a 95% degree of confidence that there

was economically recoverable oil in the western sub-area. In other words, the question is

not whether there is economically recoverable oil in the Coastal Plain, but whether the

Coastal Plain contains economically recoverable oil deposits worth (1) hundreds of

millions or (2) billions of dollars. This is contingent not on the quantity of oil available

(which is massive) but on the market price for such oil once extracted.

       DOI may contend that the 95% degree of confidence expressed by USGS falls short

of 100% certainty and that Rule 3136.3(b) applies only if there is 100% certainty valuable

oil is present. However, the rule does not require 100% certainty, nor is 100% certainty

ever possible when evaluating a prospective analysis. Certainty could only exist when a

well is drilled that strikes oil that the developer extracts and brings to market, i.e. a

“producing” well. Rule 3136.3(b) is written to afford the lessee the protection of a judicial

trial if there is either a “producing” well “or” the leased lands “are known to contain

valuable deposits of oil….” Thus, the rule contemplates both retrospective and prospective

applicability, and a probability less than 100% certainty is sufficient.

       More pertinently, because the term of art “known to contain valuable deposits” has

been employed in federal oil and gas law for more than a century, caselaw applying it

exists. In 1983, just two years after DOI adopted Rule 3136.3, DOI’s Board of Land


50
   https://www.eia.gov/dnav/pet/pet_pri_spt_s1_d.htm (viewed October 10, 2023); see
AIDEA Amnd. Cmplt., ¶ 24 (alleging market price, ECF 11); DOI Answer to Amnd.
Cmplt, ¶ 24 (admitting allegation, ECF 20); AR 4115 (market price in December, 2022).
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Appeals reaffirmed the force of older Supreme Court cases that adopted a lessee-friendly

construction of “known to contain valuable deposits” in which definitive proof of the

presence of oil or another mineral is not required and indirect evidence is sufficient if it

“engenders” a “belief” that a mineral is present and economically worthwhile to extract:

       The meaning of the statutory phrase “known to contain valuable deposits [of
       a leasable substance]” can be understood from decisions of the Supreme
       Court defining the phrase “known to be valuable [for a leasable substance].”
       Actual discovery of … deposits … on the land sought is not required in order
       that the land may be regarded as “known to contain valuable deposits” ….
       Competent evidence may consist of proof of the existence of the mineral on
       adjacent lands as well as proof of geological and other surrounding and
       external conditions, and all that is required is that the evidence show that the
       known conditions were plainly such as reasonably to engender the belief that
       the lands contain the mineral in such quantity and of such quality as to render
       its extraction profitable and justify expenditures to that end.
 Delta Chemical Co., 76 IBLA 111, 1983 WL 35057 (DOI Board of Land Appeals, 1983)

 (citing U.S. v. Southern Pacific Co., 251 U.S. 1, 13-14 (1919), Diamond Coal Co. v. U.S.,

 233 U.S. 236, 239-40 (1914), and U.S. v. U.S. Borax Co., 58 I.D. 426, 433 (1943)).

       As reviewed above, USGS analyzed geological evidence regarding the undeformed

 rocks north and west of the Marsh Creek anticline and found that multiple successful wells

 had been drilled just to the west and north of that part of the Coastal Plain. AIDEA leased

 most of the area that USGS found was most likely to contain oil. USGS concluded to a

 95% degree of confidence that economically recoverable oil was present so long as the

 market price was at least $21 a barrel, and that price is now in the $80s. The facts

 “reasonably engender” a “belief” on the part of a prudent person that “lands contain the

 mineral in such quantity and of such quality as to render its extraction profitable and justify

 expenditures to that end.” Delta Chemical Co., 1983 WL 35057 (“The presence of
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 comparable operations in the same geographic area suggest that sodium may be extracted

 at a profit from brines at Cadiz Lake”); Southern Pacific Co., 251 U.S. at 13-14 (the

 “certainty” that is only achievable by drilling wells “is a mistaken test” – test is whether

 an “ordinarily prudent person” would have enough information to justify investment).

       DOI may also attempt to rely on a brief uncited statement in the 2020 ROD where

it asserts that it is unknown whether oil will be found the Coastal Plain. AR 3145. That

isolated statement, unsupported by any evidence or further analysis, did not reject DOI’s

detailed discussion and reliance on the USGS findings in the Petroleum Resources

assessment in the 2019 FEIS (repeated in the 2023 Draft SEIS). AR 0124, AR 4414. Those

DOI documents and the 1998 and 2005 USGS studies that they cited must be read together.

The commonality among all these DOI documents (USGS is part of DOI) is that one cannot

be certain that oil is present in economically recoverable and thus valuable quantities,

because the 95% confidence level reached by USGS is not the same as 100% certainty. But

USGS’s findings, made to a 95% degree of confidence, meet and exceed the reasonable

belief standard set by the caselaw cited above. Thus, Rule 3136.3(b) applies and DOI must

sue AIDEA in a neutral judicial forum if DOI believes there are grounds to cancel AIDEA’s

leases. 5 U.S.C. § 706(2); Tax Act § 20001(b)(3). It did not do so.

       Finally, it is notable that DOI did not analyze Rule 3136.3 in its Lease Cancellation

Decision, AR 5353. This omission is itself likely reversible error, because the Rule presents

a threshold issue concerning whether DOI had jurisdiction to administratively cancel the

leases. See Point B above citing to Motor Vehicle Mfrs. Ass'n of U.S., Inc.’s holding that


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an agency’s failure to consider an important issue in its analysis is arbitrary and capricious.

463 U.S. at 43 (1983). DOI failed to provide AIDEA with the opportunity to contest the

claims that the leases should be cancelled, and so failed to provide due process required by

the Constitution and by 5 U.S.C. § 558. Having so deprived itself of the benefit of legal

briefing from AIDEA, DOI has only itself to blame for its failure to analyze and account

for Rule 3136.3(b). This Court’s August 7, 2023 decision citing the NPR-A lease

suspension provisions in upholding DOI’s decision to suspend AIDEA’s leases should also

have prompted DOI to examine the related NPR-A lease cancellation rule, before

cancelling the leases one month later. AIDEA, 2023 WL 5021555, *10. In any event, the

threshold issue of whether the Court or DOI should decide the lease cancellation issue is

appropriate for this Court to decide. DOI’s discussion in the record of the likely presence

of economically recoverable oil, recounted above, support the conclusion that Rule

3136.3(b) applies, so the issue of lease cancellations belongs in a judicial forum, with DOI

as plaintiff and AIDEA as defendant, and not before DOI. 51

       6. The prior Administration’s analysis in the 2019 FEIS and 2020 ROD is not
          “error in the inception” so as to justify lease cancellation.
       Up until now, this brief has focused on the lack of a nexus between (a) the errors

DOI claims it made under the prior Administration in connection with the ANWR oil and

gas program, and (b) the extreme remedy of cancelling leases Congress ordered DOI to

issue when DOI could have taken more narrowly tailored actions imposing stiffer program



51
    For this reason, any further proceedings regarding lease cancellation should be before
a court, and any such unresolved issues should not be remanded to DOI.
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terms and conditions responsive and proportional to the alleged errors. That point applies

regardless of whether or not DOI erred in its prior analysis. To briefly recap:

       Foreign Oil Consumption and Greenhouse Gas Emissions – While this Court held

in the lease suspension / moratorium case that agencies must consider foreign oil and gas

consumption in NEPA analyses, and thus DOI should consider those effects in the ROD

establishing the overall structure of the Coastal Plain oil and gas program, the issuance of

leases was a non-discretionary action mandated by the Tax Act, and therefore not subject

to NEPA. Failure to conduct an adequate NEPA analysis might justify lease suspension for

further analysis to guide DOI’s implementation of discretionary aspects of the program,

but such a defect could not justify undoing lease issuance through lease cancellation.

       The Tax Act’s 2,000 Surface Acre Provision – AIDEA’s lease agreements contain

no provisions or contractual guarantees regarding the amount of surface acres that may be

covered, therefore no nexus connects the alleged error in the ROD to the issued leases. DOI

can address the 2,000-surface-acre provision through its supplemental ROD and direct

AIDEA to comply with new lawful requirements, if any, moving forward. To date, AIDEA

has not put a shovel in the soil and has not disturbed a single surface acre.

       ANILCA § 810 Subsistence Analysis – Like the 2,000-surface-acre provision, the

alleged errors in subsistence analysis are tied to the 2019 FEIS and 2020 ROD, not the

leases themselves. Cancellation of the leases is not warranted as the leases require AIDEA

to receive DOI approval prior to engaging in projects on the leased lands. Such review




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includes consideration of subsistence impacts and DOI can require compliance with the

supplemental ROD’s subsistence requirements.

       These considerations alone warrant overturning the lease cancellation decision.

However, it is also worth observing that DOI’s analysis in the 2019 FEIS and 2020 ROD

was in fact reasonable and lawful, and not “error.” AIDEA will now each address each

claim of error. Notably, as discussed in Point B above, it is defendants who challenge the

lawfulness of agency actions, specifically actions by DOI in the prior Administration

implementing the Tax Act’s ANWR oil and gas program. See Solonex, 626 F.Supp.3d at

119. Thus, deferential review doctrines do not necessarily operate in favor of the defense.

       a. Greenhouse gasses.

       The question of whether DOI erred in its analysis of greenhouse gasses with respect

to issuing the leases and the question of the proper remedy for any error largely merge. As

explained in detail in Point D.3 of this brief above, the issuance of the leases was non-

discretionary and so not subject to NEPA, meaning the leases could not be cancelled on

account of alleged NEPA errors, including the greenhouse gas analysis. The question of

environmental mitigation is one over which DOI has some discretion and so is subject to

NEPA. DOI has authority to impose terms and conditions that, if lawful, must be obeyed

by AIDEA as leaseholder in its development of the project under those leases.

       b. Statutory construction of 2,000-surface-acre provision.

       The fact that DOI now interprets the 2,000-surface-acre provision of the statute

differently than it did in the 2019 FEIS and 2020 ROD is not evidence that the prior

interpretation was legal error. The parties briefed this issue in the lease suspension case,
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but the Court did not decide it, stating it “expresses no opinion in this order as to this legal

issue.” AIDEA, 2023 WL 5021555, at *24, n. 259.

       The 2,000-acre provision is short and establishes a mandatory directive requiring

DOI to authorize surface development on the Coastal Plain:

       In administering this section, the Secretary shall authorize up to 2,000
       surface acres of Federal land on the Coastal Plain to be covered by
       production and support facilities (including airstrips and any area covered by
       gravel berms or piers for support of pipelines) during the term of the leases
       under the oil and gas program under this section.
Tax Act, §20001(c)(3) (emphasis added). Under all interpretations of this language, the

2,000-acre maximum is clearly established. The competing interpretations of the “up to”

language differ in who decides whether to use less than all of the 2,000 acres authorized

by Congress: (1) the developers, or (2) DOI. Lurking just below the surface is a text-related

policy issue – if DOI makes that decision, what textual safeguard prevents DOI from

choosing to allow so little acreage as to make the leasing program non-viable?

       The first interpretation, adopted by DOI under the Trump Administration, is that the

statute directs that DOI “shall” authorize enough surface acres to allow oil and gas

development, while still protecting the environment by imposing a 2,000-acre cap. 52 In

other words, “up to 2,000 acres” is a direction from Congress to DOI to allow developers



52
     DOI explained its interpretation at AR 3153 in the 2020 ROD, stating:
       …Consistent with Congress’s objective to achieve revenue from the Coastal
       Plain oil and gas program, the ‘shall authorize’ language in (c)(3) functions
       as a directive to the BLM that it must not deny or unreasonably limit
       development of production and support facilities on the Coastal Plain until
       2,000 surface acres are covered by production and support facilities.
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to have up to 2,000 surface acres, similar to a corporate board resolution stating a manager

may spend “up to” a stated amount on a project. The developers might use less than the

authorized 2,000 surface acres, just like the manager might not spend his entire budget.

       The second interpretation, favored by the present DOI, is that this provision grants

discretion to DOI to choose any number of acres it will permit to be covered by production

or support facilities, up to a maximum of 2,000 acres. 53 The lessees operating on the

Coastal Plain would thus be constrained to limit their surface construction to the lesser of:

(a) 2,000 acres, and (b) whatever number of surface acres DOI authorizes be covered,

whether that be 2,000 acres, 1,000 acres,100 acres, 1 acre, or 0.01 acres.

       The first interpretation is the correct reading of the statute; it is a natural and

linguistically appropriate reading that more closely aligns with the purpose and statutory

scheme of § 20001 of the Tax Act. It is linguistically natural to read the statute as granting

the developers a budget of 2,000 surface acres, not all of which they have to use. Congress

drafted § 20001 as a series of “shall” commands ordering DOI to implement and establish

an oil and gas program on ANWR. See Point C of this brief. The surface acre provision,

paragraph (c)(3), follows other “shall” mandates requiring DOI to hold at least two lease

sales, to make available the lands with the highest potential for discovery of hydrocarbons,

to hold those sales by specific dates, and to issue any necessary rights-of-way or easements.

These directives created clear, enforceable obligations on DOI in its future management of


53
    Under DOI’s new interpretation: “The phrase ‘up to’ plainly indicates that BLM may
authorize less than 2,000 acres for production and support facilities, and BLM’s conclusion
otherwise was incorrect as a matter of law, as well as unreasonable.” AR 5356.
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the oil and gas program. The “shall” directives including § 20001(c)(3) are implementing

steps ensuring the development of the program and should be construed to achieve that

purpose. The first interpretation, adopted by DOI in the 2020 ROD, guarantees that lessees

can access a significant, but capped number of acres. This makes the program viable, and

so achieves the purpose evident in reading all the “shall” directives in § 20001 together.

       The second interpretation undercuts the clarity provided by Congress and risks

frustrating the purposes of the statute altogether because under that interpretation, there is

no textual minimum on the number of acres DOI is required to authorize. Under the second

interpretation, DOI could elect to authorize an unviable amount of surface development,

even as low as 0.1 acres, rendering the “shall authorize” surface acre provision in

§ 20001(c)(3) toothless, as if it were a mere “may authorize” grant of non-mandatory

permissive authority. That would leave a hamstrung oil and gas developer with no option

other than the unattractive one of asserting that the acres allowed by DOI are so low as to

be arbitrary and capricious. 5 U.S.C. § 706(2). Congress is unlikely to have relied on the

deferential arbitrary and capricious standard of review as the lone watchman to save the

program. DOI’s 2020 interpretation presents a textually accurate and more realistic reading

of the statute than DOI’s 2023 interpretation.

       It is also possible that this Court concludes that both the prior and current

interpretations are permissible, which would lead to the continued application of DOI’s

new interpretation of the statute moving forward. Such a conclusion, however, would not

justify cancellation of AIDEA’s leases, because it would mean that DOI’s 2020


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interpretation was permissible, and thus not error in the inception. Deference doctrines

recognize there may be more than one permissible and lawful interpretation of a statute. 54

       Finally, one must not forget that DOI’s 2020 interpretation of the 2,000-acre surface

provision is stated in the 2020 ROD, not the leases DOI issued to AIDEA. Thus, even if

the Court were to conclude that DOI’s 2020 interpretation of the 2,000-acre surface clause

was error, that error would not implicate the lawfulness of the leases. The error would

instead require a correction of the 2020 ROD, and a change in the acreage cap set in the

2020 ROD, which would need to be complied with by AIDEA as lessee.

        c. DOI fully satisfied ANILCA’s § 810 subsistence analysis requirements.

       In its Lease Cancellation Decision, DOI included reference to ANILCA § 810’s

subsistence analysis requirements as an issue where additional analysis may address

“potential legal defect[s]” amongst the grounds justifying its decision to cancel AIDEA’s

lease agreements. AR 5357-58. Because DOI never alleged specific errors relating to

ANILCA § 810, it is not clear to what extent, if any, the agency based its final cancellation

decision on an alleged violation of ANILCA § 810. 55 Review of DOI’s preliminary § 810

analysis in the supplemental EIS, however, suggests that any alleged errors in the ANILCA

analysis are duplicative of the claims discussed above regarding Tax Act § 20001(c)(3)



54
    Skidmore v. Swift & Co., 323 U.S. 134, 140, (1944). See U.S. v. Mead Corp., 533 U.S.
218, 234, (2001) (“Chevron did nothing to eliminate Skidmore’s holding that an agency’s
interpretation may merit some deference whatever its form…”).
55
     That the agency issued an addendum specifically identifying a third error regarding
foreign consumption of greenhouse gasses but did not issue a similar addendum identifying
flaws in the § 810 analysis suggests that DOI did not justify cancellation on these grounds.
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(i.e., claims that DOI failed to consider alternatives in its ANILCA § 810 analysis that

authorized less than 2,000 acres of surface development.) 56 But, as is discussed above,

DOI’s prior interpretation of that part of the Tax Act was not erroneous.

       DOI conducted a thorough § 810 analysis as required by ANILCA, 2019 FEIS (AR

682-707), and summarized its findings in the 2020 ROD (AR 3167-3170):

       Alternative B involves the minimal amount of public lands necessary to
       accomplish the purposes of the oil and gas leasing program required by
       Section 20001 of PL 115-97…An alternative that allowed less than 2,000
       acres to be covered by production and support facilities would be inconsistent
       with the mandate contained in PL 115-97…
       The BLM cannot administratively modify this explicit statutory directive.
       Alternative B includes numerous lease stipulations and ROPs that apply
       across the Coastal Plain for protection of specific habitats and site-specific
       resources and uses, while allowing reasonable opportunity for necessary
       infrastructure to support oil and gas exploration and development.
AR 3169. DOI concluded that the potential restrictions on subsistence use were necessary,

involved the minimal amount of public lands possible, and included reasonable steps in the

ROD to minimize adverse impacts on subsistence uses. AR 3168-70. Additionally, it is

important to note that the scope of the § 810 analysis is preliminary for the project as a

whole. The ROD’s § 810 analysis does not provide carte blanche for development; DOI

will further evaluate the subsistence impacts of the development of particular acreage as

leaseholders request land use authorizations:

       In addition to the lease stipulations and ROP’s the BLM will consider
       alternatives to avoid adverse effects and incompatible development to
       subsistence resources and uses and subsistence access before any on-the-

56
     The preliminary § 810 evaluation in DOI’s draft SEIS reaches similar conclusions
regarding “Alternative B’s” impact. The difference is that the SEIS considers alternatives
authorizing fewer than 2,000 acres for development. AR 4792-4815.
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      ground activities are approved. This will be done through subsequent NEPA
      analysis, which will be conducted before any construction or operation
      permits or approvals are issued. Compliance with ANILCA Section 810(A)
      will be undertaken at these subsequence stages through project-specific
      ANILCA Section 810 evaluations.
AR 3170. The 2020 ROD properly considered potential subsistence impacts that may arise

from authorizing 2,000 acres of surface area development as required by the statute, while

establishing that DOI will conduct additional § 810 subsistence analyses prior to actual

development on the land, and impose additional subsistence protection measures as needed.

            E. Conclusion

        For the reasons set forth above, the Court should vacate DOI’s unlawful Lease

Cancellation Decision.



      Respectfully submitted this 3rd day of May, 2024.

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